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 1                                                                    The Honorable James L. Robart
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 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT SEATTLE
10   UNITED STATES OF AMERICA,
11                     Plaintiff,                        CR 04-549 JLR
12                     v.
                                                         ORDER CONTINUING TRIAL DATE
13   LONG VAN NGUYEN, et al.                             AND PRETRIAL MOTIONS DEADLINE
     MAJOR SINGH DHANOA, and
14   RASHPAL SINGH SANDHU.
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                       Defendants.
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                                               O R D E R
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             THIS MATTER COMES before the Court on the stipulation of the parties requesting
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     an Order setting a new trial date. Having considered the stipulation of the parties and all of
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     the files and records herein,
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             THE COURT FINDS AS FOLLOWS:
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             1.        Failure to grant a continuance in this case will deny defense counsel the
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     reasonable time necessary for effective preparation for trial and other pretrial proceedings,
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     taking into account the exercise of due diligence; and
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             2.        The ends of justice served by granting this continuance outweigh the best
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     interest of the public and the defendants in a speedier trial; and


     ORDER CONTINUING TRIAL                                                           Skellenger Bender, PS
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 1           3.        The failure to grant a continuance in the proceeding will likely result in a
 2   miscarriage of justice; all within the meaning of 18 USC § 3161 (h) (8) (A), (B)(i) and
 3   (B)(iv).
 4           THE COURT THEREFORE ORDERS THAT:
 5           1.        The trial shall be continued from August 22, 2005 to October 11, 2005.
 6           2.        The Court further orders that all pretrial motions shall be filed on or before
 7   September 9, 2005.
 8           3.        The period of time from the current trial date until the new trial date
 9   encompassed by the continuance shall be excluded from the computation of time under the
10   Speedy Trial Act.
11           4.        Each defendant shall promptly file a speedy trial waiver encompassing the
12   excluded time period.
13           DATED this 2nd day of August, 2005.



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16                                                         JAMES L. ROBART
                                                           United States District Judge
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     ORDER CONTINUING TRIAL                                                            Skellenger Bender, PS
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